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                                                                         7                        IN THE UNITED STATES DISTRICT COURT
                                                                         8                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         9
                                                                         10   UNITED STATES OF AMERICA,                   No     C     04-0011   VRW
                                                                         11
United States District Court




                                                                                              Plaintiff,                         ORDER
                               For the Northern District of California




                                                                         12
                                                                                              v
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                                                                         14   GEOFFREY MICHAEL GLAZE,
                                                                         15                   Defendant.
                                                                         16                                       /
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                                                                                         By letter dated October 10, 2006, defendant seeks to
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                                                                              postpone his pre-trial conference, currently scheduled for November
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                                                                              7, 2006, and his trial, currently scheduled for November 27, 2006.
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                                                                              Doc #88.   Construing the letter as a motion to continue the trial,
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                                                                              it is DENIED.
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                                                                                         Defendant’s counsel participated by telephone during the
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                                                                              trial setting hearing on August 9, 2006.         Counsel should not have
                                                                         24
                                                                              subsequently scheduled a conflicting court proceeding.              This trial
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                                                                              has already been postponed twice - from the original trial date of
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                                                                              May 8, 2006, to July 31, 2006, and then again to November 27, 2006.
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                                                                              The court finds no reason to postpone this trial further.
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                                                                               Case 3:04-cr-00011-EMC   Document 89       Filed 10/11/06   Page 2 of 2



                                                                         1               According to his letter, defense counsel operated under
                                                                         2    the mistaken belief that the court desired to postpone this trial.
                                                                         3    This belief was formed based on a telephone conversation with
                                                                         4    opposing counsel approximately one month ago.                Counsel should have,
                                                                         5    but did not, contact the courtroom deputy, Cora Delfin, at 415-522-
                                                                         6    2039 before scheduling any conflicting matters.
                                                                         7               The pre-trial conference remains scheduled for November
                                                                         8    7, 2006, at 10:30 am in Courtroom 6.            The court will conduct jury
                                                                         9    selection on November 16, 2006, at 9:00 am in Courtroom 6.                 Trial
                                                                         10   will begin on November 27, 2006, at 8:30 am in Courtroom 6.
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United States District Court
                               For the Northern District of California




                                                                         12              IT IS SO ORDERED.
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                                                                         15                                      VAUGHN R WALKER
                                                                         16                                      United States District Chief Judge
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